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 8                                     UNITED STATES DISTRICT COURT

 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                          No. 2:23-cv-01164-DAD-DB
12                        Plaintiff,
13           v.                                         ORDER GRANTING ENTRY OF
                                                        STIPULATED JUDGMENT
14   FRANCIS EDWARD STRAW,
                                                        (Doc. No. 16)
15                        Defendant.
16

17           Before the court is the parties’ stipulated request for the entry of judgment in favor of

18   plaintiff and against defendant “in the amount of $487,486.39, as of June 15, 2023, for penalties

19   assessed against him under 31 U.S.C. § 5321(a)(5), interest under 31 U.S.C. § 3717(a)(1), and

20   late payment penalties under 31 U.S.C. § 3717(e)(2), plus further interest and statutory additions

21   thereon as allowed by law from that date until the liabilities are paid in full.” (Doc. No. 16 at 1–

22   2.)

23           Pursuant to the parties’ stipulation and finding good cause, the court will grant the parties’

24   request.

25           The court hereby orders that judgment in the amount of $487,486.39 is entered in favor of

26   plaintiff United States and against defendant Francis Edward Straw in this action. Interest and

27   statutory additions thereon as allowed by law shall accrue on the judgment from June 15, 2023

28   until the liabilities are paid in full.
                                                       1
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 1            The Clerk of the Court is directed to close this case.

 2            IT IS SO ORDERED.
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     Dated:     March 8, 2024
 4                                                          DALE A. DROZD
                                                            UNITED STATES DISTRICT JUDGE
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